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UNITED STATES DISTRICT COURT i

 

 

 

SOUTHERN DISTRICT OF NEW YORK JUL 2 5 2019 |
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Jane Doe,
STIPULATION AND
Plaintiff, © ORDER OF DISMISSAL
-against- 15 Civ. 117 (AJN)(KNF)
City of New York,
Defendants:
x

 

WHEREAS, the parties have reached a settlement agreement and now desire to
resolve the remaining issues raised in this litigation, without further proceedings and without

admitting any fault or liability;
NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by

and between the undersigned, that the above-referenced action is hereby dismissed with

prejudice,

{Remainder of this page intentionally left blank]

 
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Dated: Ngw York, New York

THE LAW OFFICES OF ALAN S.

FUTERFAS

Attorneys for Plaintiff
565 5th Avenue

New York, Ake Jy rh
(212) 684-8400

      

 

Attorney for P

By: (hy :
Alan S. Futerfis
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ZACHARY W. CARTER
Corporation Counsel of the
City of New York
Attorney for Defendant City of New York
100: Church Street, 3“ Floor
New York, New York 10007

~~,

  

 

 

Carolyn K. Depoian
Senior Counsel

SO ORDERED;

 

HOM. ALISON JANATHAN
TED STATES DISTRICT JUDGE
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Dated: 27%) RS 2019
